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Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &            FOR COURT USE ONLY
Email Address
R. Grace Rodriguez, Esq.
21000 Devonshire Street, Suite 111
Chatsworth, CA 91311
(818) 734-7223 Fax: (818) 338-5821
196657 CA
ECF2@LORGR.COM




      Respondent appearing without attorney
      Attorney for Respondent:
                                                   UNITED STATES BANKRUPTCY COURT
                                                    CENTRAL DISTRICT OF CALIFORNIA
In re:
                                                                                  CASE NO.: 1:22-bk-10501-MB
             Mary Kristin Burak
                                                                                  CHAPTER: 7


                                                                                   RESPONSE TO MOTION REGARDING THE
                                                                                  AUTOMATIC STAY AND DECLARATION(S) IN
                                                                                               SUPPORT

                                                                                  DATE:
                                                                                  TIME:
                                                                                  COURTROOM:
                                                                                  PLACE:




                                                                 Debtor(s).
Movant:           UMB BANK, National Association, not in its individual capacity, but solely as Legal Title Trustee of PRL Title
                Trust I, its assignees and/or successors

Respondent:              Debtor           trustee           other:

      NOTE REGARDING FILING AND SERVICE OF RESPONSE, EXHIBITS AND DECLARATIONS:
            A copy of the Response, exhibit(s) and declaration(s) must be served upon:
            (1) Movant’s attorney (or Movant, if Movant does not have an attorney);
            (2) the trustee; and
            (3) the judge who presides over this bankruptcy case.
            Then the document must be filed with the court.

1.       NONOPPOSITION

     The Respondent does not oppose the granting of the Motion.
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2.     LIMITED OPPOSITION
     a. Respondent opposes the Motion only to the extent that it seeks immediate relief from stay. Respondent requests
          that no lock out, foreclosure, or repossession take place before (date):       and the reason for this request is
          (specify):
     b. As set forth in the attached declaration of the Respondent or the Debtor, the motion is opposed only to the extent
          that it seeks a specific finding that the Debtor was involved in a scheme to hinder, delay or defraud creditors.


             The Debtor:
             (1)  has no knowledge of the Property.
             (2)  has no interest in the Property.
             (3)  has no actual possession of the Property.
             (4)  was not involved in the transfer of the Property.

     c.      Respondent opposes the Motion and will request a continuance of the hearing since there is an application for a
             loan modification under consideration at this time. Evidence of a pending loan modification is attached as
             Exhibit      .

     D.      Respondent requests that the 14 days not be waived.

3.        OPPOSITION The Respondent opposes granting of the Motion for the reasons set forth below.

     a.     The Motion was not properly served (specify):

             (1)    Not all of the required parties were served.
             (2)    There was insufficient notice of the hearing.
             (3)    An incorrect address for service of the Motion was used for (specify):

     b.     Respondent disputes the allegations/evidence contained in the Motion and contends as follows:
            (1)  The value of the Property is $        , based upon (specify):
            (2)  Total amount of debt (loans) on the Property is $       .
            (3)  More payments have been made to Movant than the Motion accounts for. True and correct copies of
                 canceled checks proving the payments that have been made are attached as Exhibit                .
            (4)  There is a loan modification agreement in effect that lowered the amount of the monthly payments. A true
                 and correct copy of the loan modification agreement is attached as Exhibit          .
            (5)  The Property is necessary for an effective reorganization. Respondent filed or intends to file a plan of
                 reorganization that requires use of the Property. A true and correct copy of the plan is attached as
                 Exhibit       .
            (6)  The Property is fully provided for in the chapter 13 plan and all postpetition plan payments are current. A
                 true and correct copy of the chapter 13 plan is attached as Exhibit          and proof that the plan payments
                 are current through the chapter 13 trustee is attached as Exhibit        .
            (7)  The Property is insured. Evidence of current insurance is attached as Exhibit          .
            (8)  Movant’s description of the status of the unlawful detainer proceeding is not accurate.
            (9)  Respondent denies that this bankruptcy case was filed in bad faith.
            (10)   The Debtor will be prejudiced if the Nonbankruptcy Action is allowed to continue the nonbankruptcy
                 forum.
            (11)   Other (specify):

     c.     Respondent asserts the following as shown in the declaration(s) filed with this Response:

             (1)    The bankruptcy case was converted from chapter             to chapter        .
             (2)    All postpetition arrearages will be cured by the hearing date on this motion.
             (3)    The Property is fully provided for in the chapter 13 plan and all postpetition plan payments    are current,
                    or    will be cured by the hearing date on this motion.
             (4)    The Debtor has equity in the Property in the amount of $          .
             (5)    Movant has an equity cushion of $          or      % which is sufficient to provide adequate protection.
             (6)    The Property is necessary for an effective reorganization because (specify):
             (7)    The motion should be denied because (specify):

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            (8)    An optional memorandum of points and authorities is attached in support of this Response.

4. EVIDENCE TO AUTHENTICATE EXHIBITS AND TO SUPPORT FACTS INSERTED IN THE RESPONSE:

  Attached are the following documents in support of this Response:

     Declaration by the Debtor                                    Declaration by the Debtor’s attorney
     Declaration by trustee                                       Declaration by trustee’s attorney
     Declaration by appraiser                                     Other (specify):

Date:       6/9/2022                                           The Law Offices of R. Grace Rodriguez
                                                              Printed name of law firm for Respondent (if applicable)

                                                                 R. Grace Rodriguez
                                                              Printed name of individual Respondent or attorney for Respondent

                                                               /s/ R. Grace Rodriguez
                                                              Signature of individual Respondent or attorney for Respondent




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                                              PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
21000 Devonshire Street, Suite 111, Chatsworth, CA 91311

A true and correct copy of the foregoing document entitled (specify): RESPONSE TO MOTION REGARDING THE AUTOMATIC
STAY AND DECLARATION(S) IN SUPPORT will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:




1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General Orders and LBR,
the foregoing document will be served by the court via NEF and hyperlink to the document. On (date) 6/9/2022    , I checked the
CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons are on the Electronic Mail
Notice List to receive NEF transmission at the email addresses stated below:

ustpregion16.wh.ecf@usdoj.gov
James W Bates jbates@jbateslaw.com David Keith Gottlieb (TR) dkgtrustee@dkgallc.com,
dgottlieb@iq7technology.com,rjohnson@dkgallc.com,akuras@dkgallc.com;ecf.alert+Gottlieb@titlexi.com Nancy L Lee
bknotice@mccarthyholthus.com, nlee@ecf.courtdrive.com




                                                                                      Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) 6/9/2022 , I served the following persons and/or entities at the last known
addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the
United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing
to the judge will be completed no later than 24 hours after the document is filed.

Hon. Judge, Martin R. Barash                        Mary Kristin Burak |10141 Nevada                    Nancy Lee, Esq.
21041 Burbank Boulevard, Suite 342                  Ave.|Chatsworth, CA 91311-2833|                     McCarthy & Holthus, LLP
Woodland Hills, CA 91367                                                                                2763 Camino Del Rio South, Suite 100

                                                                                      Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for each
person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)       , I served the following persons and/or entities
by personal delivery, overnight mail service, or (for those who consented in writing to such service method), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
completed no later than 24 hours after the document is filed.



                                                                                      Service information continued on attached page

I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.
6/9/2022                     R. Grace Rodriguez, Esq.                                   /s/ R. Grace Rodriguez
Date                         Printed Name                                               Signature




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UMB BANK, National Association, not in its i|c/o McCarthy & Holthus, LLP|2763 Camino Del Rio South, Suite 100|San
Diego, CA 92108-3708|||
San Fernando Valley Division|21041 Burbank Blvd,|Woodland Hills, CA 91367-6606||||
American Express National Bank |c/o Becket and Lee|PO Box 3001|Malvern, PA 19355-0701| ||
Chase Mortgage |Chase Records Center/Attn: Correspondenc|Mail Code LA4 5555 700 Kansas Ln|Monroe, LA 71203| ||
Davit Tatintsyan |501 East San Jose Avenue|Burbank, CA 91501-1957| |||
Franchise Tax Board |Bankruptcy Section MS A340|P.O. Box 2952|Sacramento, CA 95812-2952| ||
James W. Bates |L/W James W. Bates|1055 Colorado Blvd., 5th Flr.|Pasadena, CA 91106-2327| ||
LVNV Funding, LLC |C/o Resurgent Capital Services|PO Box 10587|Greenville, SC 29603-0587| ||
Loretta M. Coha and Equity Trust |&Estate of c/o James W. Bates|1055 E. Colorado Blvd., 5th Floor|Pasadena, CA
91106-2327| ||
Loretta M. Coha and Equity Trust |c/o James W. Bates|1055 E. Colorado Blvd., 5th Floor|Pasadena, CA 91106-2327| ||
Navient |ATTN: Bankruptcy|PO Box 9000|Wilkes-Barr, PA 18773-9000| ||
RISE Credit |Attn: Bankruptcy|Po Box 101808|Fort Worth, TX 76185-1808| ||
Rushmore Loan Mgmt Srvc |Attn: Bankruptcy|P.O. Box 55004|Irvine, CA 92619-5004| ||
Source Receivables Mgmt, LLC |ATTN: Bankruptcy Dept|PO Box 4068|Greensboro, NC 27404-4068| ||
United States Trustee (SV) |915 Wilshire Blvd, Suite 1850|Los Angeles, CA 90017-3560||||
Dan Bryan Floyd | |||||undeliverable
DAVID KEITH GOTTLIEB TR|16255 VENTURA BOULEVARD SUITE 440|ENCINO CA 91436-2308||||preferred
Mary Kristin Burak |10141 Nevada Ave.|Chatsworth, CA 91311-2833||||




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